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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                      Tampa Division

In re:                                                          Case No. 8:24-bk-6594-CPM

Kevin Woodley

Shawnique Hill Woodley                                          Chapter 11
                                                                Subchapter V
      Debtors
_______________/

                 DEBTORS’ MOTION TO CONVERT CASE TO CHAPTER 13

    Debtors Kevin Woodley and Shawnique Hill Woodley (hereafter the “Debtors”), by and

through their undersigned counsel, file this Motion to Convert Case to Chapter 13 and state:

    1. This case was initiated by a pro-se filing for relief under chapter 11 on November 7,

         2024.

    2. Since filing, the Debtors have consulted with the undersigned counsel, who has recently

         filed a Notice of Appearance on behalf of the Debtors in this case. Counsel for Debtor is

         currently working with the Debtors to complete the necessary schedules and believes the

         schedules will be complete prior to the deadlines proscribed in the Notice of Incomplete

         and/or Deficient Filing (Doc. No. 4).

    3. After consultation with legal counsel, it is apparent that it is more appropriate for the

         Debtors to proceed under chapter 13. Debtors qualify to be a Debtor under chapter 13 as

         they meet the requirements under 11 U.S.C. § 109(e). Proceeding under chapter 13 is in

         the best interest of the estate as it would reduce costs and expedite the case.

    4. While 11 U.S.C. §1112(a) does not speak to converting to a case under chapter 13, the

         Court has authority under 11 U.S.C. §105. The Debtors contend this motion is filed in
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       good faith, and that the Debtors are eligible for relief under the chapter for which

       conversion is requested.

       WHEREFORE, Debtors request this Court to enter an order converting this chapter 11

   case to a case under chapter 13, and such other and further relief the Court deems proper.

       Dated: November 20, 2024


                                             Respectfully submitted,

                                             /s/ James W. Elliott
                                             James W. Elliott, Esq.
                                             Florida Bar No. 0040961
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                                             Attorney for Debtors




                                  CERTIFICATE OF SERVICE


       I HEREBY CERTIFY on this 20th day of November 2024 that a true and correct copy of

the foregoing Motion to Convert Case to Chapter 13 has been provided via first class U.S. mail,

or electronically via the Court’s CM/ECF system to: all parties on the attached mailing matrix.




                                                             /s/James W. Elliott
                                                               Attorney
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